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An excerpt of a letter penned by Guy Re itt, sent to ProPublica from jail.




In Exclusive Jailhouse Letter, Capitol Riot Defendant Explains Motives, Remains
Boastful
The material obtained by ProPublica sheds light on the radicalization of a Jan. 6 defendant whom prosecutors have characterized as a “serious
danger ... not only to his family and Congress, but to the entire system of justice.”

by Joshua Kaplan and Joaquin Sapien
May 11, 12:30 p.m. EDT


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In a letter sent from behind bars, a key defendant in the Jan. 6 riot at the U.S. Capitol said he and fellow inmates have bonded in jail, and boasted
that those attacking the building could have overthrown the government if they had wanted.


The letter is signed “the 1/6ers” and expresses no remorse for the assault on the Capitol, in which ﬁve people died. While no names appeared on it,
ProPublica was able to determine, through interviews with his family and a review of his correspondence from jail, that it was penned by Guy
Reﬃtt, a member of the Three Percenter right-wing militant group accused of participating in the riot. The letter said the inmates arrested for
their role in the attack regularly recite the Pledge of Allegiance inside the Washington, D.C. jail and sing the national anthem “all in unison, loud
and proud most everyday.”




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“January 6th was nothing short of a satirical way to overthrow a government,” said the letter, written by hand on yellow lined paper. “If overthrow
was the quest, it would have no doubt been overthrown.”


The letter sent to ProPublica is believed to be one of the ﬁrst public statements from a Jan. 6 rioter currently in detention. ProPublica also
obtained text messages with Reﬃtt’s family and was able to ask a few questions of him via text from the D.C. Jail, with his wife, Nicole Reﬃtt,
acting as a relay. Guy Reﬃtt declined to participate in a fuller interview on the advice of his lawyer, his wife said.


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Reﬃtt faces a variety of charges, including obstructing an oﬃcial proceeding, which carries a maximum sentence of 20 years. He is awaiting trial
and has pleaded not guilty. In text messages he sent last month to his wife, Reﬃtt said he was resigning from the Texas Three Percenters.


Last week, Reﬃtt told ProPublica via his wife that more than 30 people arrested in connection with the Jan. 6 attack had discussed the letter while
in custody. He said that the “1/6ers” are “not organized” and that there are “no leaders,” just “people chatting about things” because they are
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“stuck here together.”


Reﬃtt said that the suspects communicate with one another with what are known as “kites,” jailhouse slang for messages passed from cell to cell.
They are also able to socialize during the two hours a day they’re let out of their cells. The Department of Justice declined to comment.


Those detained in connection with the Capitol siege have been treated by D.C. oﬃcials as “maximum security” prisoners and kept in restrictive
housing, according to media reports. Three defendants that Nicole Reﬃtt said she understood to be parties to the letter denied any knowledge of it
when contacted by ProPublica. One of them said he became friends with Guy Reﬃtt inside the D.C. Jail, but had been moved to another unit by
the time the letter was penned.


Nicole Reﬃtt said she helped her husband write the letter and solicit support through phone calls and a jailhouse messaging app inmates are
allowed to use periodically to communicate with the outside world. The D.C. Jail has held dozens of defendants in connection with the riot, on
charges ranging from obstructing an oﬃcial proceeding to assaulting a police oﬃcer with a dangerous weapon.


The letter counters the notion that there was a “plan” or “conspiracy” to take down Congress on Jan. 6, blaming much of the violence on “isolated
overly emotional individuals.” It suggests that their actions were meant to put the country on notice: “The people clearly are not happy,” Guy
Reﬃtt said in response to questions sent through his wife.


“Ask the Capitol Police for [their] opinion of how it could have been,” the letter says. “They are grateful it wasn’t a real insurrection complete with
mind, body and soul.”


                                                                      A DV E RT I S E M E N T




Reﬃtt had a moment of notoriety in late January when it became public that his son had contacted the FBI to report him roughly two weeks
before the riot. In text messages reviewed by ProPublica, Reﬃtt asked his wife for a list of presidents so that the group could use it to create cell
names. Reﬃtt now resides in a cell he has dubbed “the Garﬁeld suite,” named after the 20th U.S. president, James A. Garﬁeld.


ProPublica reporters visited Reﬃtt’s family in Wylie, Texas, a Dallas suburb, and interviewed Nicole Reﬃtt and their two daughters. The reporters
also met with the Reﬃtts’ son, Jackson Reﬃtt, who had reported concerns about his father’s activities to the FBI. Jackson Reﬃtt said the bureau
did not follow up until the Capitol was under siege. The FBI did not immediately respond to questions from ProPublica.


The family shared group text message chats from the past year and some of their correspondence with Guy Reﬃtt during his more than three
months in jail.


The material sheds light on the radicalization of Reﬃtt, whom federal prosecutors characterized in a court ﬁling as a “serious danger ... not only to
his family and Congress, but to the entire system of justice.”
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News media footage used in a court iling shows Re itt on a staircase between terraces outside the U.S. Capitol building. United States District Court for the District of Columbia



Reﬃtt, 48, worked most of his adult life on oil rigs, an occupation that took him and sometimes his family around the world, including three years
in Malaysia. But when the coronavirus hit in 2020, work dried up and he intensiﬁed his political activity, focusing on the Black Lives Matter
movement, which he viewed as destructive.
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Reﬃtt saw his actions on Jan. 6 as a critical step in protecting his wife and kids from what he viewed as a decades-long American slide toward
“tyranny,” according to his text messages.


“We watch the people of other countries rise up against authoritarianism and think, how sad they must be to want freedom and liberty so much,”
the letter said. “Here, the more you try to divide, bend or even break America. The more The Republic of The People will stand indivisible and
resolute.”


Reﬃtt’s son covertly recorded conversations with his father that have shown up in court ﬁlings as evidence that Reﬃtt came to the Capitol armed
and with violent intentions.


“You’ll ﬁnd out that I had every constitutional right to carry a weapon and take over the Congress, as we tried to do,” he said in one recording,
according to a transcript in court ﬁles. Jackson Reﬃtt, 18, has since moved out of the family home and is raising money to support himself and his
schooling.


In another excerpt in court ﬁles, Guy Reﬃtt was blunt: “I did bring a weapon on property that we own. Federal grounds or not. The law is written,
but it doesn’t mean it’s right law. The people that were around me were all carrying too.”


Reﬃtt’s wife and daughters said his statements were more benign than they sound — that Reﬃtt is notorious for his hyperbole and left the Capitol
when he learned rioters had made it inside. Nicole Reﬃtt said she has long referred to her husband teasingly as “Queenie” because of his ﬂair for
the dramatic. Prosecutors have not accused him of entering the Capitol building or hurting anyone.


                                                                     A DV E RT I S E M E N T




In their most recent ﬁling, prosecutors added new evidence to their case against Guy Reﬃtt. They obtained a recording of a Jan. 10 Zoom meeting
involving Reﬃtt and two other Three Percenters. In it, Reﬃtt allegedly said he helped lead the charge on the Capitol with a .40-caliber pistol at his
side, at one point telling a U.S. Capitol Police oﬃcer who was ﬁring nonlethal rounds at him, “Sorry, darling. You better get a bigger damn gun.”


Reﬃtt went on to describe how the group might be able to disable a social media company’s servers by using a sniper riﬂe to disable the generators
at a nearby Texas facility. According to court records, he said attacking the servers would “make them feel it back” in Washington, D.C. He added:
“Then they won’t know we’re coming next time.”
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In court ﬁlings, his lawyer said that prosecutors have “relied on bragging” and that none of the government’s video or photographs from the
Capitol show Reﬃtt to be armed. Reﬃtt has not been charged with a gun crime.


The letter expressed hope that the events of Jan. 6 wouldn’t need to be repeated: “I hope that was the only day in American history we would
without doubt, feel the need to notify our government, they have transgressed much too far.”


Several experts on extremism reviewed the letter for ProPublica and had diﬀering views of its implications.


“I tend to look at this letter as a person puﬃng themself up,” said Jason Blazakis, a former senior counterterrorism oﬃcial at the Department of
State.


Peter Simi, an associate professor at Chapman University in Southern California, found the language in the letter more alarming, especially in
how it characterizes the Jan. 6 riot as inevitable.


“I would interpret it as a threat. You can say it’s thinly veiled, but I don’t think it’s that thinly veiled,” Simi said. “This is the preamble — what you
saw on the 6th. More is coming ... If you thought the 6th was bad, just wait and see.”




The Meet and Greet
As Reﬃtt struggled to ﬁnd work in the spring of 2020, he spent hours watching Fox News and getting angry over the Black Lives Matter protests,
his family said. His teenage children supported the movement; Reﬃtt viewed it as “bullshit,” according to his texts. One argument with his son
ended with Reﬃtt throwing a coﬀee mug across the room. About a week later, Jackson Reﬃtt went to march in a BLM rally in Wylie. His father
went armed, the family said, standing guard outside the suburb’s Olde City Park.


Around that time, Guy Reﬃtt was introduced to the Three Percenters, a decentralized anti-government movement. The group, which takes its
name from the myth that only three percent of the population fought the British in the American Revolution, is credited with popularizing the
militia movement by framing it in more palatable, patriotic terms.


Nicole Reﬃtt recalled a “meet and greet” in June, with about 20 members coming to the Reﬃtt home for a barbecue.


After some awkward small talk, the conversation turned to “what everyone could do,” she said. Who had military experience? Who had a license to
carry? Who knew how to stop a bleed? Someone took notes to be sent up the chain of command.
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Guy Reﬃtt was enthralled. Afterwards, he began doing what he called “intel," doing background checks on new recruits. His wife was relieved he
seemed to have a sense of purpose.


In August, Reﬃtt drove to a BLM demonstration in Mississippi, hoping to surveil a particular activist. The family said that Reﬃtt intended to place
a GPS tracking device on the man’s car. He abandoned the plan when he wasn’t sure he had the right vehicle.


Nicole Reﬃtt said she was alarmed when she found multiple license plates in the bed of her husband’s pickup truck. She said her husband told her
he used them to make sure he wasn’t being tracked. “I was like, ‘What the fuck? What are we doing?’” she said. “He told me to go to work and keep
my business to myself.”


After then-President Donald Trump lost his bid for reelection, Guy Reﬃtt began to sequester himself in the front room of his suburban brick
home, glued to Newsmax as it reported theories of how the vote was rigged.


On Dec. 19, Reﬃtt found a new obsession, his family said, when Trump tweeted: “Big protest in D.C. on January 6th. Be there, will be wild!”


From then on, Reﬃtt’s texts bounced between plans for shopping and cooking prime rib for Christmas and talk of going to D.C. to “shock the
world.”


“It’s the government that is going to be destroyed in this ﬁght,” Reﬃtt texted his family on Dec. 21. “Congress has made fatal mistakes this time.”


Feeling “paranoid” about his father, Jackson Reﬃtt sent in a tip via the FBI website. He said he wrote that his father was a militia member who
made threatening statements about public oﬃcials and kept talking about doing “something big.”




Full Battle Rattle
After Christmas, Guy Reﬃtt ﬁrmed up plans to travel to Washington for the Jan. 6 rally. His family said he planned to bring weapons, which was
unsurprising; they said he went most everywhere armed. Nicole Reﬃtt told ProPublica her husband promised to disassemble the weapons to
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comply with Washington, D.C., laws. His defense attorney has argued that there is no evidence that he “carried a loaded ﬁrearm.”


But according to court records, on Dec. 28, Guy messaged an unnamed individual. “I don’t think unarmed will be the case this time,” he said. “I
will be in full battle rattle. If that’s a law I break, so be it, but I won’t do it alone.”


When he left to drive to Washington, he told his family, “If everything works out, I’ll see you again,” in what Nicole said was a typically
melodramatic goodbye.


“I love ALL of you with ALL of my heart and soul,” he texted on the morning of Jan. 6. “This is for our country and for ALL OF YOU and your kids.”


Jackson Reﬃtt came home to ﬁnd his mother and sister transﬁxed by the television as protestors pushed past police lines. “What the hell?” he
recalled asking. “Is dad there?” The screen showed police in the Senate chambers, guns drawn.


“Your father is there,” his mother responded.


Finally acting on Jackson Reﬃtt’s earlier tip, an FBI agent called him to set up a meeting.


Two days later, Guy Reﬃtt came home, eager to boast. His son decided to record him. Jackson Reﬃtt met with the FBI agent the following week.




“I Felt Hate More Than Anything”: How an Active Duty Airman Tried
to Start a Civil War




In the pre-dawn hours of Jan. 16, a squad of more than a dozen oﬃcers rolled up to the Reﬃtt home, armed for a SWAT raid, according to his
family and footage from their neighbor’s security camera. A mobile battering ram idled in front of their house as the oﬃcers tossed ﬂash-bang
grenades. The family clambered out, some still in their underwear.


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Guy Reﬃtt went without resistance, assuring the kids that the federal agents were only doing their jobs. He was expecting to be arrested by then,
his family said, and even laughed with an oﬃcer who accompanied him to the bathroom after he’d been handcuﬀed.


As he was being carted oﬀ in the back of a police vehicle, he yelled out the window: “I didn’t ask for this!”


He has been behind bars since.


On April 22, Reﬃtt messaged his wife a note of encouragement.


“You are superstars to more than half the country,” he wrote. “There’s no going back now.”




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